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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION


    JULIA YONAN AND                                     Case No. 0:21-cv-61443-WPD
    TERRANCE CORRIGAN,

          Plaintiff,

    v.

    WALMART, INC., and NESTLÉ USA, INC.,

        Defendants.
    ___________________________________/

                                ORDER ON MOTION TO DISMISS

            THIS MATTER comes before the Court on Defendants’ Motion to Dismiss [DE 25]

   (“Motion”). The Court has carefully considered the Motion, the Response [DE 35], and the

   Reply [DE 36] thereto. The Court has also considered Defendants’ Request for Judicial Notice

   [DE 28], the Response [DE 31], and Reply [DE 37] thereto, and the Parties’ arguments at the

   March 10, 2022 hearing on this matter. The Court is otherwise fully advised in the premises.

     I.     BACKGROUND

            In the Second Amended Complaint, Plaintiffs Julia Yonan (“Yonan”) and Terrence

   Corrigan (“Corrigan”) (collectively, “Plaintiffs”), individually, and on behalf of all others

   similarly situated in Florida, bring claims against Defendants Walmart, Inc. (“Walmart”) and

   Nestlé USA, Inc., (“Nestlé”) (collectively, “Defendants”) for violations of the Florida Deceptive

   and Unfair Trade Practices Act, Fla. Stat. § 501.201 et seq. (“FDUTPA”). See Second Am.

   Compl. [DE 23] (hereinafter “SAC”). Specifically, Plaintiffs allege that each Defendant engaged

   in deceptive and/or unfair trade practices by deceptively marketing, labeling, advertising, and




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   selling Coffee Mate original powdered coffee creamer product, including the 35.3 ounce version

   purchased by each of the Plaintiffs in this action.

          According to the Second Amended Complaint, Defendant Nestlé manufactures, markets,

   promotes, advertises, and sells Coffee Mate powdered coffee creamers, including manufacturing

   and distributing the Coffee Mate product at issue in this action. SAC ¶ 7. Defendant Walmart

   also markets, promotes, advertises, and sells Coffee Mate powdered coffee creamers, including

   the Coffee Mate product at issue in this action. SAC ¶ 8.

          On or about February 23, 2021, and sometime after July 1, 2021, respectively, Plaintiffs

   Yonan and Corrigan purchased Coffee Mate Original Powdered Coffee Creamer (the “Product”)

   at a Walmart store in Broward County, Florida. SAC ¶¶ 20–21. Attached to the Second

   Amended Complaint as Exhibit B is a copy of the label of the Product each Plaintiff allegedly

   purchased. See Ex. B [DE 23-2]. The Product’s label states that it contains “[a]bout 500

   servings” and the Product’s nutrition panel defines a serving as “1 tsp (2g).” See Ex. B; SAC ¶¶

   23–24. In other words, Plaintiffs contend that a consumer purchasing this Product would

   reasonably believe it contains at least 500 1-teaspoon servings of powdered coffee creamer. SAC

   ¶ 25. Plaintiffs allege, however, that according to their own expert testing incorporated as Exhibit

   C into the Second Amended Complaint, the Product does not contain 500 1-teaspoon servings of

   powdered coffee creamer and instead contains 383.3 servings, constituting a shortage of 23.3%

   of the promised servings. SAC ¶¶ 28, 42; Ex. C [DE 23-3]. Plaintiffs allege that had they known

   the Product did not contain the promised servings, they would not have purchased it. SAC ¶¶ 46–

   47, 77. As result of the Product’s false, misleading, and deceptive representations, Plaintiffs and

   putative class members have been injured. SAC ¶¶ 48–49.




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           Through correspondence dated June 1, 2021, and delivered June 7, 2021, Plaintiff Yonan

   provided notice of the Product’s deceptive labeling, including Plaintiffs’ independent laboratory

   testing, to Walmart’s legal department. SAC ¶ 32; Ex. D [DE 23-4]. Despite this purported

   knowledge, Plaintiffs allege that Walmart continued to market, advertise, sell, and profit from

   the Product. SAC ¶¶ 33–34.

           Based on these allegations, Plaintiffs bring a two count Second Amended Complaint. In

   the First Cause of Action, both Plaintiffs alleges a claim under FDUTPA against Nestlé on behalf

   of themselves and a putative class of Florida consumers. SAC ¶¶ 79–92. In the Second Cause of

   Action, Plaintiff Corrigan alleges a claim under FDUTPA against Walmart on behalf of himself

   and a putative class of Florida consumers. Plaintiffs seek to enjoin Defendants from continuing

   to engage, use, or employ any unfair and/or deceptive business acts or practices related to the

   Product as well as obtain declaratory relief and a judgment for damages and reasonable

   attorneys’ fees.

    II.    LEGAL STANDARD

           Rule 8(a)(2) requires “a short and plain statement of the claim showing that the pleader is

   entitled to relief,” in order to “give the defendant fair notice of what the . . . claim is and the

   grounds upon which it rests.” Conley v. Gibson, 355 U.S. 41, 47 (1957). Under Rule 12(b)(6), a

   motion to dismiss should be granted only if the plaintiff is unable to articulate “enough facts to

   state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

   (2007) (abrogating Conley, 355 U.S. at 41). “A claim has facial plausibility when the pleaded

   factual content allows the court to draw the reasonable inference that the defendant is liable for

   the misconduct alleged.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (citing Twombly, 550

   U.S. at 556). The allegations of the claim must be taken as true and must be read to include any



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   theory on which the plaintiff may recover. See Linder v. Portocarrero, 963 F. 2d 332, 334–36

   (11th Cir. 1992) (citing Robertson v. Johnston, 376 F. 2d 43 (5th Cir. 1967)).

             However, the court need not take allegations as true if they are merely “threadbare

   recitals of a cause of action’s elements, supported by mere conclusory statements.” Iqbal, 129 S.

   Ct. at 1949. In sum, “a district court weighing a motion to dismiss asks ‘not whether a plaintiff

   will ultimately prevail but whether the claimant is entitled to offer evidence to support the

   claims.’” Twombly, 550 U.S. at n. 8 (quoting Scheuer v. Rhodes, 416 U.S. 232, 236 (1974),

   overruled on other grounds, Davis v. Scherer, 468 U.S. 183 (1984)).

   III.      DISCUSSION

             Defendants’ Motion to Dismiss [DE 25] seeks to dismiss all claims in Plaintiffs’ Second

   Amended Complaint [DE 23] pursuant to Federal Rule of Civil Procedure 12(b)(6). In

   adjudicating the Motion to Dismiss, Defendants request that the Court take judicial notice of “(1)

   the label of Nestlé’s 35.3 ounce Coffee Mate Original powdered coffee creamer at issue in this

   action, and (2) the fact that the label pictured in Exhibits 1 and 2 to the Sunday Declaration was

   the only label available for purchase at Walmart ‘on or after July 1, 2021,’” when Plaintiff

   Corrigan allegedly purchased the Product. [DE 28] at 1.

          A. Defendants’ Request for Judicial Notice

             Defendants, throughout their Motion to Dismiss, rely on documents outside the four

   corners of the complaint. This includes the Declaration of Sarah A. Sunday and the three exhibits

   attached thereto, which purportedly show the front and back labels as it appeared on the product

   Plaintiff Corrigan would have purchased (Exhibits 1 and 2) and the front label as it appeared on

   the product that Plaintiff Yonan likely would have purchased (Exhibit 3). Defendants separately

   move for the Court to take judicial notice of the Product’s labels and the fact that the label



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   pictured in Exhibits 1 and 2 to the Sunday Declaration was the only label available for purchase

   at Walmart on or after July 1, 2021. Defendants argue that this Court may consider the exhibits

   appended to the Sunday Declaration because they provide clearer, more complete images of the

   two labels incorporated into Plaintiffs’ Second Amended Complaint and are undisputedly

   authentic and central to Plaintiff Corrigan’s FDUTPA claims.

          Plaintiffs request that the Court not consider these documents. In particular, Plaintiffs

   argue that the Court cannot accept as undisputable and true the affidavit of Nestlé employee

   Sunday regarding her opinion about a photograph of a Coffee Mate powdered coffee creamer

   label attached thereto. Plaintiffs argue that Sundays’ opinions are double hearsay and the date

   Sunday opines the label was not available for sale in Walmart is an estimate purportedly based

   on numerous unidentified and unattached documents. According to Plaintiffs, the label provided

   by Defendants in Exhibit 1 contains an asterisk explanation stating “[a]bout 500 2 gram

   servings,” which were not contained on the label of the Product alleged to be purchased by

   Plaintiffs. Compare [DE 23] Ex. B with [DE 28] Ex. 1. Plaintiffs note Sunday is not a Walmart

   employee and her conclusions are based on estimations. Additionally, Plaintiffs contend that they

   reasonably dispute the matters which Defendants seek to have the Court judicially notice;

   therefore, under applicable case law, these documents cannot be considered on a motion to

   dismiss.

          Typically, in considering a motion to dismiss, a court’s review is confined to the four

   corners of the complaint. Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 959 (11th Cir. 2009).

   An exception exists for documents that were not attached to the complaint if they are central to a

   plaintiff's claim and their authenticity is undisputed. See Brooks v. Blue Cross and Blue Shield of

   Fla., Inc., 116 F.3d 1364, 1369 (11th Cir. 1997). “[W]here the plaintiff refers to certain



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   documents in the complaint and those documents are central to the plaintiff's claim, then the

   Court may consider the documents part of the pleadings for purposes of Rule 12(b)(6) dismissal,

   and the defendant’s attaching such documents to the motion to dismiss will not require

   conversion of the motion into a motion for summary judgment.” Id.

           Under Federal Rule of Evidence 201, “[c]ourts can take notice of certain facts without

   formal proof but only where the fact in question is ‘one not subject to reasonable dispute in that

   it is either (1) generally known within the territorial jurisdiction of the trial court or (2) capable

   of accurate and ready determination by resort to sources whose accuracy cannot reasonably be

   questioned.’” Shahar v. Bowers, 120 F.3d 211, 214 (11th Cir. 1997) (citing Fed. R. Evid.

   201(b)). “[T]he kinds of things about which courts ordinarily take judicial notice are (1)

   scientific facts: for instance, when does the sun rise or set; (2) matters of geography: for instance,

   what are the boundaries of a state; or (3) matters of political history: for instance, who was

   president in 1958.” Id.

           Here, the Court declines to exercise its discretion to take judicial notice. Rather than

   simply asking the Court to take judicial notice of the fact that Nestlé issued the new label,

   Defendants are asking the Court to take judicial notice of, and therefore accept as undisputed, the

   fact that the new label was the only label in Walmart’s inventory as of July 2021. The

   conclusions drawn from Sunday’s affidavit—including whether the new label was the only label

   sold at Walmart after July 1, 2021—are highly disputed by Plaintiff. The Court will take judicial

   notice of the fact that Nestlé issued the label. However, the Court will not take judicial notice of

   the contents of the Sunday Declaration and any conclusions or statements contained within,

   including that the fact that the label pictured in Exhibits 1 and 2 to the Sunday Declaration was

   the only label available for purchase at Walmart on or after July 1, 2021. Though the Court



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   recognizes that there may be inconsistencies among Plaintiffs’ exhibits with regards to the

   asterisk statement, the issue is a factual one more properly addressed at trial or summary

   judgment.

      B. Florida Deceptive and Unfair Trade Practices Act Claims

          Defendants seek dismissal of Plaintiffs’ FDUTPA claims for various reasons. First,

   Defendants argue that Plaintiffs fail to allege deception because Plaintiffs do not and cannot

   claim that the Product contains fewer than 500 2-gram servings and Plaintiffs’ legal theory is

   otherwise preempted by federal law. Second, Defendants argue that the front and back label

   Corrigan purchased clarifies any potential confusion about the serving size. Third, Defendants

   contend that Corrigan fails to allege an unfair or deceptive practice by Walmart because Walmart

   merely sold a Nestlé product and FDUTPA expressly exempts retailers like Walmart from

   liability. Finally, Defendants argue Plaintiffs lack standing to sue Defendants for injunctive or

   declaratory relief. The Court addresses each argument in turn.

      1. Whether Plaintiffs Adequately Allege Deception

          The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”) is designed to

   “protect the consuming public and legitimate business enterprises from those who engage in

   unfair methods of competition, or unconscionable, deceptive, or unfair acts or practices in the

   conduct of any trade or commerce.” Rollins, Inc. v. Butland, 951 So. 2d 860, 869 (Fla. 2d DCA

   2006) (quoting Fla. Stat. § 501.202(2)). To sustain a FDUTPA claim, a plaintiff must show “(1)

   a deceptive act or unfair trade practice; (2) causation; and (3) actual damages.” Dolphin LLC v.

   WCI Cmtys., Inc., 715 F.3d 1243, 1250 (11th Cir. 2013); see also Casa Dimitri Corp. v. Invicta

   Watch Co. of Am., Inc., 270 F. Supp. 3d 1340, 1351 (S.D. Fla. 2017); Martorella v. Deutsche

   Bank Nat. Trust Co., 931 F. Supp. 2d 1218, 1223 (S.D. Fla. 2013). Although FDUTPA does not


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   explicitly define the term “deception,” the provisions of the Act are to be “construed liberally.”

   Fla. Stat. § 501.202. Courts have determined that a deceptive practice occurs when there is “a

   representation, omission, or practice that is likely to mislead the consumer acting reasonably in

   the circumstances, to the consumer’s detriment.” Zlotnick v. Premier Sales Group, 480 F.3d

   1281, 1284 (11th Cir. 2007) (citation and quotation omitted); see also Rollins, 951 So. 2d at 869

   (“A deceptive practice is one that is ‘likely to mislead’ consumers.”). “This standard requires a

   showing of ‘probable, not possible, deception’ that is ‘likely to cause injury to a reasonable

   relying consumer.’” Zlotnick, 480 F.3d at 1284 (quoting Millennium Commc'ns & Fulfillment,

   Inc. v. Office of the Att'y Gen., 761 So. 2d 1256, 1263 (Fla. 3d DCA 2000)).

          As an initial matter, Defendants urge the Court to require Plaintiffs to abide by the

   heightened pleading requirements of Fed. R. Civ. P. 9(b) because Plaintiffs’ FDUTPA claim

   contains averments of fraud. While the Court acknowledges that courts within this district have

   reached various conclusions about the application of Rule 9(b) to FDUTPA claims, this Court

   has previously held that Rule 9(b) does not apply to FDUTPA claims. See Sanchez–Knutson v.

   Ford Motor Co., 52 F.Supp.3d 1223, 1239 (S.D. Fla. 2014) (citing Toback v. GNC Holdings,

   Inc., 2013 WL 5206103, *2 (S.D. Fla. Sept. 13, 2013)).

          The parties’ dispute and the allegedly deceptive practice centers on the proper serving

   size for the Coffee Mate Product. Defendants argue that the label undisputedly states that the

   serving size is “1 tsp (2 g)” and the container holds 1 kg (or 1000 grams) of coffee creamer. See

   SAC, Ex. B. According to Defendants, because the serving size is a 2-gram teaspoon’s worth of

   product and 1000 divided by 2 equals 500, the estimate of “[a]bout 500 servings per container”

   as advertised on the label is entirely accurate. SAC ¶ 23. Defendants argue that the federal Food

   & Administration (“FDA”) regulations support Nestlé’s 2-gram teaspoon argument because the



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   FDA has determined that the reference amount customarily consumed (“RACC”) per eating

   occasion of “[c]ream or cream substitutes, powder” is 2 grams. 21 C.F.R. § 101.12(b).

   Defendants point out that the FDA provides that the “reference amount[] shall be used as the

   basis for determining [serving size].” Id. Therefore, Defendants contend, Nestlé’s 500 2-gram

   serving label is consistent with FDA RACC and serving size regulations.

           Plaintiffs reject Defendants’ 2-gram serving size argument. According to Plaintiffs, the

   central issue is whether the Product is capable of making 500 1-teaspoon servings. Plaintiffs

   further contend that Defendants misunderstand FDA regulations. Specifically, Plaintiffs assert

   that the label statement is separate and distinct from the RACC, which is only “the basis for

   determining serving sizes.” 21 C.F.R. § 101.12(b).

           FDA regulations require “all nutrient and good component quantities . . . [to] be declared

   in relation to a serving.” 21 C.F.R. § 101.9(b). A “serving” is defined as “an amount of food

   customarily consumed per eating occasion by persons 4 years of age or older which is expressed

   in a common household measure that is appropriate to the food.” 21 C.F.R. § 101.9(b)(1).

   Further, “a label statement regarding a serving shall be the serving size expressed in common

   household measures . . . and shall be followed by the equivalent metric quantity in parenthesis

   (fluids in milliliters and all other foods in grams).” 21 C.F.R. § 101.9(b)(7). 1 According to

   Plaintiffs, this authority makes clear that “serving” is a common household measure such as a

   teaspoon, not a metric measure such as grams. Therefore, Plaintiffs argue Nestlé is required to

   express the serving size in a common household measure and to report the metric measure

   equivalent thereof, not the other way around.


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     “The gram or millimeter quantity equivalent of the household measure should be rounded to the nearest whole
   number except for quantities that are less than 5 g (mL). The gram (mL) quantity between 2 and 5 g (mL) should be
   rounded to the nearest 0.5 g (mL) and the g (mL) quantity less than 2 g (mL) should be expressed in 0.1-g (mL)
   increments.” 21 C.F.R. § 101.9(b)(7)(ii).

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           Here, the Product label at issue unambiguously states that the serving size is “1 tsp (2 g)”

   and that the product contains “[a]bot 500 servings per container.” SAC ¶¶ 23–24, Ex. B.

   According to Plaintiffs, 23.3% of the servings are missing from the Product when following the

   instructions of one serving equating to one teaspoon. SAC ¶ 28. The Second Amended

   Complaint and Exhibit C attached thereto make clear that Plaintiffs’ allegation that the product

   contains fewer than 500 servings is based on a teaspoon weight of 2.6 grams, not 2 grams. See

   SAC Ex. C at 4 (“The Coffee Mate powder had an average weight of 2.6g (+/- 0.10g) which was

   higher than the 2g teaspoon printed on the package nutrition facts label.”) (internal citation

   omitted); SAC ¶ 28 (incorporating Plaintiff’s expert testing of the product into the Second

   Amended Complaint as Exhibit C); SAC ¶ 58. Yet Plaintiffs argue that it is precisely this

   difference in weight that caused the alleged deficiency. Therefore, the question becomes

   whether this alleged difference in weight can form the basis of a FDUTPA claim. The Court

   finds that it does.

           FDA guidance expressly referenced in the Second Amended Complaint outlines the

   process product manufacturers must follow to determine a specific serving size for their product.

   SAC ¶¶ 60–70. According to FDA guidance, the process for determining the appropriate serving

   size and number of servings consists of three steps. See Food and Drug Administration,

   Guidance for Industry: A Food Labeling Guide at 48,

   https://www.fda.gov/media/81606/download (Rev. January 2013). First, “[l]ocate the appropriate

   food category and [RACC] for your product in the two tables in Section 101.12(b) of the food

   labeling regulations.” Id. at 48. The FDA has determined that the RACC per eating occasion of

   “[c]ream or cream substitutes, powder” is 2 grams. 21 C.F.R. § 101.12(b). Second, “[d]etermine

   the serving size for your multi-serving product using the RACC for the product.” Food and Drug



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   Administration, Guidance for Industry: A Food Labeling Guide at 49 (Rev. January 2013) (citing

   21 C.F.R. § 101.9(b)(2), (3), and (4)). FDA regulations provide that “[f]or nondiscrete bulk

   products (e.g., breakfast cereal, flour, sugar, dry mixes, concentrates, pancake mixes, macaroni

   and cheese kits), . . . the serving size shall be the amount in household measure that most closely

   approximates the [RACC] for the product category.” 21 C.F.R. § 101.9(b)(2)(iii). The final step

   requires manufacturers to “[u]se the information in 21 C.F.R. 101.9(b)(8) to determine the

   number of servings and the appropriate rounding rules for numbers of servings.” Food and Drug

   Administration, Guidance for Industry: A Food Labeling Guide at 49 (Rev. January 2013).

   “Determination of the number of servings per container shall be based on the serving size of the

   product.” 21 C.F.R. § 101.9(b)(8).

          Assuming Plaintiff’s expert testing is accurate, which the Court is required to do at this

   juncture, a reasonable consumer could be misled into purchasing Nestlé’s Product based on the

   serving size and number of servings as presented on Nestlé’s packaging. Plaintiffs clearly allege

   this when they state that Plaintiffs reasonably anticipated that the Product would contain 500 1-

   teaspoon servings when in fact, it did not. See, e.g., SAC ¶¶ 29–30, 37, 38, 42. Defendants do not

   dispute the FDA regulations underlying Plaintiffs’ theory. See [DE 36] at 4. Rather, Defendants

   argue that if a teaspoon weighs 2.6 grams as Plaintiffs allege, the common household measure

   closest to the 2-gram RACC is 3/4 a teaspoon, see 21 C.F.R. § 101.9(b)(5)(i), which would make

   the metric equivalent thereof 1.95 grams (i.e., 2.6 grams times 3/4). Id. Because FDA regulations

   require a gram equivalent to the household measure of less than 2 grams to “be expressed in 0.1-

   g increments,” Defendants argue, the metric measurement of the Product is 2 grams, the exact

   amount listed on the label. 21 C.F.R. § 101.9(b)(7)(ii).




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          Defendants’ argument defies logic. The Product label at issue unambiguously states that

   the serving size is “1 tsp (2 g).” SAC, Ex. B. Whether the Court accepts Plaintiffs’

   characterization that the Product represented that it contained 500 1-teaspoon servings when it

   did not, or Defendants’ characterization that the Product contained 500 3/4-teaspoon servings

   weighing 2 grams each, the result would be no different: the Product label would violate 21

   C.F.R. § 101.9(b)(2)(iii) because a 3/4-teaspoon serving is the household measure that most

   closely approximates the RACC, not the 1-teaspoon serving size listed on the label. Accordingly,

   Defendants’ assertion that the 2-gram metric measurement is accurate based on a 3/4-teaspoon

   household measurement is merely an alternative way of describing how the Product label is

   allegedly deceptive or misleading. Thus, regardless of the characterization, the allegations in the

   Second Amended Complaint clearly set forth an act which Plaintiffs believe are deceptive,

   thereby satisfying the first element of their FDUTPA claims.


      2. Whether Plaintiffs’ FDUTPA Claims are Preempted by FDA Regulations


          As an initial matter, the Court notes that Defendants’ preemption argument was raised for

   the first time in the reply, and therefore the Court need not consider the argument. United States

   v. Feinberg, 89 F.3d 333, 341 (7th Cir.1996) (“The reply brief is not the appropriate vehicle for

   presenting new arguments or legal theories to the court.”); Miccosukee Tribe Of Indians Of Fla

   v. United States, 574 F. Supp. 2d 1360, 1367-68 (S.D. Fla. 2008) aff'd sub nom. Miccosukee

   Tribe of Indians of Florida v. United States, 619 F.3d 1286 (11th Cir. 2010) (ignoring arguments

   in reply brief exceeding the scope of the motion and response).




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           However, even if it were to consider Defendants’ preemption arguments, the Court is

   doubtful that Plaintiffs’ FDUTPA claims as pled are preempted by FDA regulations. The federal

   Food, Drug, and Cosmetic Act (“FDCA”) expressly preempts state laws that “directly or

   indirectly establish . . . any requirement for nutrition labeling of food that is not identical to the

   requirement of section 343(q).” 21 U.S.C. § 343-1(a)(4). Section 343(q) empowers the FDA to

   promulgate regulations for “the number of servings . . . per container.” 21 U.S.C. § 323(q)(1)(B).

   Because the Product label at issue is governed by 21 U.S.C. § 343, Plaintiffs cannot maintain

   state law claims that would require additional labeling if the packing at issue is fully compliant

   with the FDCA and its related regulations. There is no prohibition, however, on a state law claim

   based upon packaging that also violates the FDCA. See POM Wonderful LLC v. Coca-Cola Co.,

   573 U.S. 102, 116 (2014) (“It is unlikely that Congress intended the FDCA's protection of health

   and safety to result in less policing of misleading food and beverage labels than in competitive

   markets for other products.”); Bates v. Dow Agrosciences LLC, 544 U.S. 431, 448 (2005)

   (holding that express preemption of different requirements “does not preclude States from

   imposing different or additional remedies, but only different or additional requirements”)

   (emphasis in original).

           Defendants argue that pursuant to 21 C.F.R. § 101.9(g)(7), compliance with the FDA

   regulation is “based on the metric measure specified in the label statement of serving size.”

   Therefore, Defendants argue, even if a teaspoon of the Product weighs 2.6 grams, federal

   regulations dictate that the number of servings is 500. Defendants appear to argue that a claim

   that the Product contains any serving amount other than that expressed on the label would be

   preempted by the FDA’s requirement that compliance be measured by the metric measured listed

   in the label serving size. But Defendants do not explain how this requirement eliminates



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   Plaintiffs’ remedy for a mislabeled serving size or serving amount. It would be incongruous, to

   say the least, to require a manufacturer to calculate the number of servings based on the metric

   equivalent of a serving size expressed in a common household measure, but still permit it to use

   a purportedly misleading figure for the household measure itself.


       3. Whether the Second Amended Complaint Properly Alleges the Label Corrigan Bought


            Defendants further argue that Plaintiff Corrigan’s allegations fail because the product he

   purchased “assuredly included” an asterisk statement informing him the serving size was an

   estimate based on “[a]bout 500 2 gram servings.” Defendants’ argument is premised upon the

   arguments outline in their Request for Judicial Notice. As the Court stated supra, the Court will

   not take judicial notice of the contents of the Sunday Declaration and any conclusions or

   statements contained within, including the contention that the label pictured in Exhibits 1 and 2

   to the Sunday Declaration was the label Corrigan purchased. Though the Court recognizes that

   there may be inconsistencies among Plaintiffs’ exhibits with regards to the asterisk statement, the

   Court declines to conduct such a factual inquiry at this stage in the litigation. 2 See Incarcerated

   Entm't, LLC v. Warner Bros. Pictures, 261 F. Supp. 3d 1220, 1231 (M.D. Fla. 2017) (declining

   to conduct a fact-intensive inquiry or draw inferences in favor of a Defendant to determine that

   certain statements were not false when adjudicating a motion to dismiss).

            Additionally, Defendants argue that the Second Amended Complaint never alleges what

   label Corrigan purchased. Of particular concern to Defendants is Plaintiffs’ failure to allege

   whether Corrigan’s product includes an asterisk statement or, alternatively, attach a photograph



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    Defendants state that if the Court is not inclined to consider the asterisk label at this time, Defendants request the
   Court order Plaintiff Corrigan to attach a photo of the actual product he purchased to a future amended complaint.
   First, Plaintiffs allege that label identified in Exhibit B is the label Corrigan allegedly bought. Second, the Court
   declines to impose such an evidentiary burden at the pleading stage.

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   of the actual product Corrigan allegedly purchased. According to the Second Amended

   Complaint, “[s]ometime after July 1, 2021, Plaintiff, Corrigan, purchased the largest cannister of

   the Coffee Mate Original Powdered Coffee Creamer product from a Walmart in Broward

   County, Florida. Upon information and belief, the largest cannister sold by Walmart is the

   Coffee Mate Original Powdered Coffee Creamer product (Net Wt. 35.3 Oz).” SAC ¶ 21. “The

   Product’s front label prominently states that the Product contains ‘500 Servings.’ Photographs of

   the Product’s label and nutrition panel are attached hereto as Exhibit ‘B.’” SAC ¶ 23. The Court

   finds that Defendants have received fair notice of the claims and the grounds upon which they

   rest. Whether the product Corrigan purchased contains an asterisk statement is not requirement to

   plead a FDUTPA claim and the Court declines to impose such a requirement at the pleading

   stage.

            Further, to the extent that Defendants take issue with the fact that Corrigan relies on

   “information and belief” regarding the Coffee Mate product he purchased, such a concern would

   not be a basis for dismissal. Latele Television C.A. v. Telemundo Commc'ns Grp., LLC, No. 12–

   22539–CIV, 2013 WL 1296314, at *11 (S.D. Fla. Mar. 27, 2013) (“[T]he mere fact that a

   complaint includes allegations asserted on information and belief is not, in and of itself, a basis

   for dismissal.”) (citing Arista Records, LLC v. Doe 3, 604 F.3d 110, 120 (2d Cir. 2010)). Indeed,

   “[t]he Twombly plausibility standard . . . does not prevent a plaintiff from ‘pleading facts alleged

   upon information and belief’ where the belief is based on factual information that makes the

   inference of culpability plausible.” Associated Indus. Ins. Co. v. Advanced Mgmt. Servs., Inc.,

   No. 12–80393–CIV, 2013 WL 1176252, at *3 (S.D. Fla. Mar. 20, 2013) (citing Iqbal, 556 U.S.

   at 678) (internal quotation marks omitted). The Court finds Corrigan’s allegations sufficient at




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   this stage of the litigation to raise a reasonable inference of culpability. Therefore, the Court will

   not dismiss Corrigan’s claims on this basis.

       4. Whether Plaintiff Corrigan Can State a Claim Against Walmart

            Defendants argue that Plaintiff Corrigan fails to allege an unfair or deceptive practice by

   Walmart because, apart from conclusory allegations and the allegations that lump together

   Walmart and Nestlé, the Second Amended Complaint merely alleges that Walmart sold a Nestlé

   product. Defendants further argue FDUTPA expressly exempts retailers like Walmart from

   liability.

            In response, Plaintiffs contend that the Second Amended Complaint alleges that Walmart

   had actual knowledge that it was marketing, promoting, advertising, and selling the deceptively

   labeled product because of a June 7, 2021 letter sent by Yonan to Walmart. See SAC ¶¶ 13, 16,

   33–34, 36, 44, 47. Plaintiffs assert that because the Second Amended Complaint properly alleges

   Walmart had actual knowledge, Defendants’ arguments fail. Defendants, for their part, argue that

   the label pictured in Yonan’s letter was not even sold in Walmart stores on or after July 1, 2021,

   when Corrigan allegedly bought the Product. Defendants also assert that the letter fails to inform

   Walmart that the product contains fewer than 500 2-gram servings.

            FDUTPA prohibits recovery of damages, fees, or costs “against a retailer who has, in

   good faith, engaged in the dissemination of claims of a manufacturer or wholesaler without

   actual knowledge that it violated this part.” Fla. Stat. § 501.211(2). Thus, a consumer suing a

   retailer under FDUTPA must allege that the retailer had actual knowledge it was violating the

   act. See Herazo v. Whole Foods Mkt., Inc., 2015 WL 4514510, at *3 n.2 (S.D. Fla. July 14,

   2015).




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           When addressing a motion to dismiss the Court must accept all factual allegations as true

   and make all reasonable inferences in favor of the non-moving party. Spanish Broad. Sys. of

   Fla., Inc. v. Clear Channel Commc'ns, Inc., 376 F.3d 1065, 1070 (11th Cir. 2004). Here,

   Plaintiffs have not merely alleged Walmart sold the Product. Plaintiffs have specifically alleged

   Walmart obtained actual knowledge of the Product’s allegedly deceptive labeling upon receipt of

   Plaintiff Yonan’s June 7, 2021 letter [DE 23-4] but nevertheless continued to market, promote,

   advertise, and sell the Product both in stores and online. See, e.g., SAC ¶¶ 13, 16, 33–34, 36, 44,

   47, 117. Concluding that these allegations are insufficient because Corrigan could not have

   purchased the product with the same label included in the letter would require the Court to

   conduct a fact-intensive inquiry and draw inferences in favor of Defendant Walmart. See

   Incarcerated Entm't, LLC, 261 F. Supp. 3d at 1231. Moreover, the Court has already rejected

   Walmart’s 500 2-gram serving size argument. See supra. Taking all allegations as true and

   drawing all inferences in favor to Plaintiffs, Plaintiffs’ allegations raise a plausible inference that

   Walmart had actual knowledge it was violating FDUTPA. 3

       5. Whether Plaintiffs Lack Standing to Sue for Injunctive or Declaratory Relief

           Finally, Defendants assert that Plaintiffs Yonan and Corrigan lack standing to pursue

   injunctive or declaratory relief because they fail to allege any real and immediate threat of future

   harm. In response, Plaintiffs argue that have properly alleged that they may purchase the Product


   3
     The Court is also unpersuaded by the cases provided by Defendants, which do not involve FDUTPA or allegations
   that the retailer had actual knowledge. See, e.g., Cohn v. Kind, LLC, No. 13 CIV. 8365 (AKH), 2015 WL 9703527,
   at *3 (S.D.N.Y. Jan. 14, 2015); Wing Enterprises, Inc. v. Tricam Indus., Inc., 511 F. Supp. 3d 957, 966 (D. Minn.
   2021); Fagan v. AmerisourceBergen Corp., 356 F. Supp. 2d 198, 219 (E.D.N.Y. 2004).




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   again if they believe the labeling has been corrected. See SAC ¶ 52. Because they have no way of

   knowing when this will occur, and because Defendants continue to advertise, market, and sell the

   deceptively labeled Product, Plaintiffs allege they face imminent future injury. SAC ¶¶ 53–54.

   These allegations are insufficient to allege the possibility of future harm.

           “[T]o satisfy Article III, a Plaintiff pursuing injunctive relief must seek to redress a real

   and immediate threat of future injury, and past harm will not suffice.” Wasser v. All Market, Inc.,

   329 F.R.D. 464, 470 (S.D. Fla. 2018). “The injury-in-fact demanded by Article III requires an

   additional showing when injunctive relief is sought. In addition to past injury, a plaintiff seeking

   injunctive relief ‘must show a sufficient likelihood that [she] will be affected by the allegedly

   unlawful conduct in the future.’” Ohio State Troopers Association, Inc. v. Point Blank

   Enterprises, Inc., 347 F. Supp. 3d 1207, 1223 (S.D. Fla. 2018) (quoting Houston v. Marod

   Supermarkets, Inc., 733 F.3d 1323, 1328 (11th Cir. 2013)). The same applies to a request for

   declaratory relief. See Strickland v. Alexander, 772 F.3d 876, 883 (11th Cir. 2014) (“[A] plaintiff

   seeking declaratory or injunctive relief must allege and ultimately prove ‘a real and immediate—

   as opposed to merely hypothetical or conjectural—threat of future injury.’”) (emphasis in

   original) (citation omitted).

           Like Sorin and other case law cited by Defendants, Plaintiffs allege they will only

   purchase the Product if the mislabeling is rectified. See Sorin v. Folger Coffee Co., No. 20-

   80897-CV, 2021 WL 5545292, at *2 (S.D. Fla. Mar. 5, 2021); see also Snyder v. Green Roads of

   Fla. LLC, 430 F. Supp. 3d 1297, 1304 (S.D. Fla. 2020) (finding that the Plaintiffs lack standing

   despite an allegation that they would continue to purchase the Defendant's products if they could

   rely on the truthfulness of the Defendant's labeling). This is not sufficient to allege that there is a

   likelihood of future injury. Recognizing this, Plaintiffs allege that they “have no way of knowing



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   if or when Nestlé makes changes to the Product and whether the Product’s labeling remains

   deceptive,” suggesting that future injury is possible. SAC ¶ 54. The Court finds this allegation

   far too speculative to merit injunctive or declaratory relief. 4 Thus, the requests for injunctive and

   declaratory relief are due to be dismissed.

   IV.     CONCLUSION

           Based on the foregoing, it is ORDERED AND ADJUDGED as follows:

           1. Defendants’ Request for Judicial Notice [DE 28] is DENIED.

           2. Defendants’ Motion to Dismiss [DE 25] is GRANTED IN PART AND DENIED IN

                PART, as set forth in this Order.

           3. Plaintiffs’ requests for injunctive and declaratory relief are dismissed.

           4. Defendants shall file an answer to the remainder of Plaintiffs’ Second Amended

                Complaint on or before March 25, 2022.

           DONE AND ORDERED in Chambers in Fort Lauderdale, Broward County, Florida this

   11th day of March, 2022.




   Copies furnished to:
   All Counsel of Record




   4
    In response to Defendants’ Request to Take Judicial Notice and the March 10, 2022 hearing, Plaintiff affirmatively
   produced a Coffee Mate product in which the nutritional fact panel lists ¾ teaspoon as the serving size. See [DE 31-
   2]. This label further supports a finding that Plaintiffs have pled only hypothetical and conjectural future injury.

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